                 Case 8:24-bk-05243-CPM                  Doc 34        Filed 01/21/25   Page 1 of 2

[Doddos] [District Order Denying, Disapproving, Overruling, or Striking]




                                            ORDERED.
Dated: January 21, 2025




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                              Case No.
                                                                                    8:24−bk−05243−CPM
                                                                                    Chapter 13

Xavier Charles Alexander Washington II
aka Xavier Charles Washington II




                     Debtor*                        /



                       ORDER DENYING MOTION TO ALLOW LATE FILED CLAIM

   THIS CASE came on for consideration, without hearing, of the Motion for Leave to File Late−Filed Proof
of Claim filed by Avenida De Flores Townhomes Association, Inc. , Doc. # 32 . After review, the Court
determines that the motion is deficient as follows:

         Service upon the Debtor at the Debtor's address of record is not indicated. Fed. R. Bankr. P.
         3007(a), 4003(b)(4) and 7004(b)(9).




   Accordingly it is

   ORDERED:

         The motion is denied to allow movant to file an amended motion.
                Case 8:24-bk-05243-CPM              Doc 34      Filed 01/21/25        Page 2 of 2


The Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
